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     HOPE SOLO
 9                                UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11
     HOPE SOLO,                                        Case No.: 3:18-cv-05215 JD
12
                                                       REPLY TO NON-PARTIES ALEX
13                         Plaintiff,                  MORGAN, ET AL’S OPPOSITION TO
                                                       HOPE SOLO’S EMERGENCY MOTION
14          v.                                         FOR SANCTIONS PURSUANT TO
                                                       FEDERAL RULES OF CIVIL
15 UNITED STATES SOCCER FEDERATION,                    PROCEDURE, RULE 11
16                         Defendant.                  Date:     September 12, 2019
                                                       Time:    10:00 a.m.
17                                                     Dept.:   Courtroom 11
                                                       Judge:   Hon. James Donato
18
                                                       Complaint Filed: August 24, 2018
19
            Plaintiff, Hope Solo (“Plaintiff” or “Solo”), pursuant to Federal Rules of Civil Procedure
20
     (“FRCP”), Rule 11 and United States District Court, Northern District of California, Civil Local
21
     Rules (“Civil Local Rules”), Rule 1-4, Rule 7-2, and Rule 7-8, files this Reply to Opposition to
22   Emergency Motion For Sanctions Pursuant to Federal Rule of Civil Procedure, Rule 11 (“Reply
23   to Opposition to Motion for Sanctions”, “Reply”), fully incorporating by reference herein

24   Plaintiff’s Emergency Motion for Sanctions Pursuant to Federal Rule of Civil Procedure, Rule
     11 (“Dkt.61”, “Motion for Sanctions”, “Motion”) which has been set for a hearing before this
25
     Court on September 12, 2019, at 10:00 a.m., as well as the Opposition to Plaintiff’s Motion for
26
     Sanctions (“Dkt. 65”, “Opposition to Motion for Sanctions”, “Opposition”), and states as
27
     follows:
28
                                    –1–
        REPLY TO NON-PARTIES MORGAN, ET AL. OPPOSITION TO HOPE SOLO’S
       EMERGENCY MOTION FOR SANCTIONS PURSUANT TO FEDERAL RULES OF
                          CIVIL PROCEDURE, RULE 11
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 1          Solo’s Motion for Sanctions seeks Rule 11 sanctions against the Morgan Plaintiffs and
 2   Putative Class Counsel for the Morgan Plaintiffs for disregarding federal and local rules and
     improperly filing its “Opposition to Plaintiff’s Motion for Administrative Relief” (Dkt.60)
 3
     (“Opposition”).
 4
            From its “I. Introduction” paragraph through its “Conclusion” the improper Opposition
 5
     to Sanctions misstates the record generally, and the clear language of the pleadings filed in this
 6   cause specifically. The Opposition to Sanctions also ignores or misstates the facts and
 7   applicable law and procedure in this matter, including, but not limited to, the following:
 8          Misstatement No. 1 at Opposition to Sanctions Dkt.65 page 1. The Opposition to

 9   Sanctions states that Solo is taking “the unprecedented step of asking this Court to issue an
     order compelling her inclusion in a mediation of the Morgan Plaintiffs’ class action against
10
     USSF pending in front of the Honorable R. Gary Klausner in the Central District of California”,
11
     and states that “[B]oth the USSF and the Morgan Plaintiffs opposed this request” (Dkt.65, P.1).
12          These statements are belied by the record. The Opposition to Sanctions fails to
13   accurately state the relief requested in Solo’s Motion for Administrative Relief.    Stated
14   correctly, Solo’s Motion for Administrative Relief (Dkt.52, “Motion for Administrative Relief”)

15   seeks an order from this Court “referring this case to the impendent mediation in the action Alex
     Morgan et al v. United States Soccer Federation, Case No. 2:19-cv-01717-RGK-AGR, which as
16
     the Court has previously recognized is a case involving similar claims and issues and is pending
17
     in the Central District of California.” (Dkt.52). Solo’s Motion for Administrative Relief also
18
     “requests this Court to order the parties to confer regarding any potential Mediation and compel
19   the Defendant, and related, similar case party(s) in Morgan et al v. USSF to include Plaintiff
20   Solo as a participant in the pretrial proceeding of Mediation.” (Dkt.52). Solo’s Motion for

21   Administrative Relief further asks the Court to “Order[] the parties in this litigation to confer
     regarding any potential Mediation and compelling the parties to participate in the pretrial
22
     proceeding of Mediation would promote judicial economy, avoid any undue prejudice and
23
     irreparable harm to Plaintiff Solo, as well as permit the parties to fully comply with the Court’s
24
     June 7, 2019 Order.” (Dkt.52).
25          “Mediation” as articulated in Solo’s Motion for Administrative Relief, is a pretrial
26   proceeding that encompasses not only a potential actual mediation session with the parties
27   negotiating in the presence of a mediator, but also includes the informal negotiations between
     the parties and their respective counsel prior to, during, and subsequent to a formal mediation
28
     session, if any. Although a formal mediation –session
                                                        2 – has not occurred, settlement discussions
         REPLY TO NON-PARTIES MORGAN, ET AL. OPPOSITION TO HOPE SOLO’S
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                                      CIVIL PROCEDURE, RULE 11
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 1   between USSF and the similarly-situated Morgan Plaintiffs have commenced and are ongoing,
 2   and according to USSF’s counsel, a mediation session is currently being scheduled between the
     Morgan Plaintiffs and the Defendant USSF – the same defendant named and served in the Solo
 3
     v. USSF action. (Dkt.52, Ex. B).
 4
            Misstatement No. 2 at Opposition to Sanctions Dkt.65 page 1. The Opposition
 5
     (Dkt.60, P.1) states that “[A]bsent putative class members such as Solo, however, do not have
 6   the right to seek to represent the class or manage the class action litigation”, and the Opposition
 7   to Sanctions (Dkt.65, P.1) states that “Solo lacked standing to represent the [Morgan] Plaintiffs
 8   in any settlement negotiations in the Morgan action”; however, no where in the Motion for

 9   Administrative Relief or the Motion for Sanctions does Solo request to represent the Morgan
     Plaintiffs in any settlement negotiations. To imply otherwise is a misstatement and
10
     misrepresentation to this Court. Stated correctly - and within the context of USSF’s coercive
11
     behavior towards the USWNT and the Morgan Plaintiffs, Solo’s termination from the USWNT
12   by the USSF in August of 2016, and the recent history of capitulation by the USWNT and the
13   Morgan Plaintiffs to the coercion of USSF - Solo’s Motion for Administrative Relief states that
14   “Solo is free to persist and pursue their [Solo’s, USWNT’s, and the Morgan Plaintiffs’] mutual

15   Equal Pay objectives in the Mediation without fear of USSF retribution or retaliation.
     Accordingly, Solo should be allowed to fearlessly participate in the Mediation and or any
16
     settlement negotiations.” (Dkt.52).
17
            Misstatement No. 3 at Opposition Dkt.65 pages 1 & 3. In addition, the Opposition to
18
     Sanctions states that Solo’s Motion for Sanctions (Dkt. 61) makes “wild accusations against the
19   Morgan Plaintiffs that are not remotely supported by the factual record and once again asks this
20   court for improper relief that is not warranted or permitted by any federal or local rule” (Dkt.65,

21   P.1). This is a clear misstatement to this Court, unsupported by any evidentiary support for the
     allegations against Solo of inaccurate accusations and failing to point to any fact unsupported by
22
     the factual record before this Court. Furthermore, the Opposition to Sanctions blatantly
23
     mischaracterizes and misrepresents the relief sought by Solo, as discussed supra.
24
            Solo’s Motion for Administrative Relief is consistent with the federal and local rules, as
25   well as consistent with the Court’s June 7, 2019 Order. To state otherwise is an attempt to
26   mislead this Court and to disregard this Court’s June 7, 2019 Order -- which is the apparent
27   intent of the Morgan Plaintiffs. As set forth in Solo’s Motion for Sanctions, the Morgan
     Plaintiffs have not even properly established standing or the right to be heard on any matters
28
                                                    – 3 – Plaintiffs specifically state that they have
     before this honorable Court. The Non-Party Morgan
         REPLY TO NON-PARTIES MORGAN, ET AL. OPPOSITION TO HOPE SOLO’S
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                                     CIVIL PROCEDURE, RULE 11
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 1   “not asserted in their Opposition [to Sanctions] or at any other point that they wish to, or could,
 2   join Solo in this matter” (Dkt.65, P.3). Specifically, the Morgan Plaintiffs have not attempted to
     join any claims pursuant to FRCP, Rule 18 (“Rule 18”), or attempted to join any parties in this
 3
     action pursuant to FRCP, Rule 19 (“Rule 19”) and Rule 20 (“Rule 20”). Furthermore, the
 4
     Morgan Plaintiffs have not intervened, and according to their Opposition, “are not seeking to
 5
     formally intervene and pursue claims in this case” pursuant to FRCP, Rule 24 (“Rule 24”).
 6   (Dkt.65, P.3).
 7          Misstatement No. 4 at Opposition to Sanctions Dkt.65 page_4_. In an attempt to
 8   contradict their clear violation of federal and local rules, counsel for the Morgan Plaintiffs

 9   attempt to allude both to (1) a Notice of Motion to Transfer that was filed with the JPML on
     March 8, 2019 (Dkt.45), and (2) a designation of Alex Morgan as an “interested party” which
10
     requests that the Court clerk (due the similarity of claims and issues in this case with those in
11
     Morgan et al v. USSF), apprise counsel for the Morgan Plaintiffs of actions related to the above-
12   styled and numbered case through electronic notification of electronic case filings (“ECF”). A
13   “Notice” of a Motion to Transfer filed with the JPML, or a designation of 1 of 28 Plaintiffs in
14   another case (Alex Morgan) for receipt of ECF documents in this pending case does not

15   constitute an “appearance” as that term is defined in the federal or local rules. (See L.R. 3-4 and
     5.1). Furthermore, a “Notice” or request for receipt of ECF filing is clearly not an
16
     “Intervention” pursuant to Rule 24, and any attempt to assert otherwise is a purposeful
17
     misstatement and an improper misrepresentation to this Court.
18
            As stated in Solo’s Emergency Motion for Sanctions, no class has been certified in
19   Morgan et al v. USSF, and it is premature and improper for Non-Parties and counsel for Non-
20   Parties to suggest that Hope Solo has “opted-out” of a class that has yet to be certified. In

21   addition, contrary to the assertions in Non-Party’s Opposition (Dkt.60), Solo’s Motion does not
     state any intention “to negotiate a settlement on behalf of a putative class” or to “manage the
22
     class action litigation” (Dkt.60, P.1). In addition, Non-Party’s counsel claims to be unclear as to
23
     the relevance to the Rule 23 class certification factor determination regarding the “adequacy” of
24
     Class Counsel in relation to improperly filing a pleading (Dkt.60) in a court in which counsels’
25   clients are not parties, counsel is not attorney of record, and without following federal or local
26   rules for authorization or permission – and attempting to justify such action through an
27   additional Dkt.65 Opposition to Plaintiff’s Emergeny Motion for Sanctions. Such disregard for
     the Federal Rules is contrary to the obligations of Class Counsel as set forth in Federal Rule 23
28
     and the Manual on Complex Litigation. Further,  – 4such
                                                         – feigned ambiguity on the part of Non-
         REPLY TO NON-PARTIES MORGAN, ET AL. OPPOSITION TO HOPE SOLO’S
        EMERGENCY MOTION FOR SANCTIONS PURSUANT TO FEDERAL RULES OF
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 1   Party’s putative class counsel is not shared by those who adhere to the ethical and federal rules
 2   and should not be tolerated by this Court.
            The Bottom Line. The real issue at hand is that the Morgan Plaintiffs and their Counsel
 3
     improperly filed their Opposition to Solo’s Motion for Administrative Relief without proper
 4
     procedural basis or permission from the Court. Solo’s Motion for Administrative Relief was
 5
     directed to and served upon Defendant USSF, not the Morgan Plaintiffs. USSF filed its
 6   Response to Plaintiff’s Motion for Administrative Relief (Dkt.59), stating that “U.S. Soccer
 7   does not oppose mediating with Solo individually”, while challenging the propriety of Plaintiff’s
 8   Motion for Administrative Relief. As evidenced by its “Response”, Defendant USSF is not

 9   interested in judicial efficiency or economy, and presumably would prefer not to comply with
     this Court’s June 7, 2019 Order requiring USSF to “confer on ways to streamline discovery and
10
     other pretrial proceedings with respect to other cases that might raise similar claims and issues”.
11
     Procedurally, USSF could have properly referenced the Morgan Plaintiffs’ shared opposition in
12   its “Response”, but it did not. Absent joinder or intervention, any further responsive pleading
13   by Morgan Plaintiffs or counsel for the Morgan Plaintiffs was unsolicited, unwarranted,
14   unnecessary, and procedurally improper. Adopting the faulty rationale from the Morgan

15   Plaintiffs’ counsel’s attempts to justify their acts and omissions would obviate the need for the
     Federal Rule on Intervention -- Rule 24 -- as well as any of the rules governing joinder or
16
     intervention. Accordingly, Solo’s Motion for Sanctions is consistent with the federal and local
17
     rules, specifically FRCP, Rule 11 (“Rule 11”).
18
            To the extent that counsel for the Morgan Plaintiffs have any right to be heard before
19   this Court, the Opposition to Sanctions is correct in reciting a portion of the language of FRCP
20   Rule11(c)(2). That Rule provides: after describing “the specific conduct which allegedly

21   violates 11(b)”, and after “notice and a reasonable opportunity to respond”, and after service of
     the Motion for Sanctions pursuant to FRCP Rule 5, it requires that Rule 11(a) “attorneys of
22
     record” or “parties” be afforded 21 days from the date of service (“or within another time the
23
     court sets”) to withdraw or appropriately correct the “challenged paper, claim, defense,
24
     contention, or denial” (Rule 11). However, the Plaintiffs Alex Morgan et al are, by their own
25   admission, “Non Parties” to the above-styled and numbered cause, and have never filed any
26   request for joinder of claims or parties, nor filed any motion for intervention, nor conferred with
27   the parties in this cause regarding joinder nor intervention, nor sought the permission or leave of
     this Court to file any pleading or “other papers” in this cause, or in any manner requested
28
                                                     – 5 –Dkt.65). In addition, contrary to the
     permission to be heard before this Court. (Dkt.60;
          REPLY TO NON-PARTIES MORGAN, ET AL. OPPOSITION TO HOPE SOLO’S
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 1   assertions in the Opposition for Sanctions, Solo’s Motion for Sanctions does not violate
 2   Northern District of California Local Rules 7-2 or 7-8, nor Northern District Guidelines for
     Professional Conduct. As stated in Solo’s Motion for Sanctions (Dkt.61), FRCP Rule 11 is
 3
     silent as to its applicability to “Non-Parties” such as the Morgan Plaintiffs and attorney of
 4
     record for “Non-Parties”. Cases such as Radcliffe v. Rainbow Const. Co., 254 F.3d 772 (9th Cir.
 5
     2001), cited by the Non-Parties in their Opposition, are silent on unprecedented situations such
 6   as this in which Non-Parties purposefully file a pleading in a court in which they are not parties
 7   and without permission.
 8          It is unclear what is meant by the Opposition to Sanctions’ assertion that “Solo’s counsel

 9   barely attempted to confer” with counsel for Non-Parties. One either confers or one does not.
     Notwithstanding the likely inapplicability of FRCP Rule 11(c)(s)’s notice provisions to “Non-
10
     Parties” or counsel for “Non-Parties”, Counsel for Plaintiff Solo engaged in a good faith effort
11
     to resolve the issue by conferring with counsel for “Non-Parties”, providing notice of the
12   improper filing (Dkt.60), requesting that Dkt.60 be immediately withdrawn, and providing a
13   reasonable opportunity for counsel for Non-Parties to respond (See Dkt.62-1). No agreement
14   was reached on the Emergency Motion for Sanctions, and the Emergency Motion for Sanctions

15   was filed after requesting withdrawal of Dkt.60 based upon Non-Party putative class counsel’s
     ethical breach and violation of one or more of six federal rules by filing the Opposition. To
16
     avoid the possibility of a bad precedent set by permitting a Non-Party to insert themselves into
17
     an independent action and to file a pleading or “other papers” in that independent action that
18
     may influence the cause or misrepresent to the Court and the general public the relative legal
19   positions of the parties in that independent action, and with the intent to immediately “deter
20   repetition of the conduct or comparable conduct by others similarly situated” (Rule 11(c)(4)),

21   Solo filed the Motion for Sanctions. Solo’s Motion for Sanctions was and is filed as an
     Emergency Motion for Sanctions and seeks immediate withdrawal of the Opposition (Dkt.65) as
22
     well as appropriate sanctions against the offending Non-Parties and their counsel.
23
            Contrary to the assertions in the Non-Party’s Opposition to Sanctions, Solo’s Motion for
24
     Administrative Relief is not an “intervention” in Morgan et al v. USSF. It is filed in the above-
25   styled and titled cause in which Solo is the Plaintiff and it is clearly permissible by the federal
26   and local rules. In contrast, Counsel for Non-Parties cites no federal or local rule permitting
27   Non-Party’s Opposition (Dkt.60) to be filed in Solo v. USSF without joinder, intervention, leave
     of court, consent of the parties, or authorization by this Court. The Opposition (Dkt.60) is
28
                                                      –6–
         REPLY TO NON-PARTIES MORGAN, ET AL. OPPOSITION TO HOPE SOLO’S
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 1   improper and the acts or omissions by Non-Parties in filing the Opposition (Dkt.60) should be
 2   subject to sanctions.
                                            CONCLUSION
 3
            Based upon the aforementioned, Plaintiff Solo respectfully requests this Court to grant
 4
     its Emergency Motion for Sanctions Pursuant to Federal Rule of Civil Procedure, Rule 11.
 5

 6
     Dated: August 7, 2019                       Respectfully submitted,
 7

 8                                               _________/s/_________________
                                                 TIMOTHY W. MOPPIN, ESQ.
 9                                               Attorneys for Plaintiff
                                                 HOPE SOLO
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                                    –7–
        REPLY TO NON-PARTIES MORGAN, ET AL. OPPOSITION TO HOPE SOLO’S
       EMERGENCY MOTION FOR SANCTIONS PURSUANT TO FEDERAL RULES OF
                          CIVIL PROCEDURE, RULE 11
